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   7
                          UNITED STATES DISTRICT COURT
   8
                        SOUTHERN DISTRICT OF CALIFORNIA
   9
  10
       UNITED STATES OF AMERICA,            CASE NO.: 19-mj-24357-LL
  11
                        Plaintiff,
  12                                        MR. ZEPEDA’S MOTIONS TO:
            v.                                1) DISMISS THE COMPLAINT;
  13                                          2) PROHIBIT HIS UNLAWFUL
       JOSE LUIS ZEPEDA-RODRIGUEZ,               AND     UNCONSTITUTIONAL
  14                                             CIVIL ARREST AT COURT;
                        Defendant.               AND
  15                                          3) STAY PROCEEDINGS IF THIS
                                                 MOTION IS DENIED TO
  16                                             PERMIT MR. ZEPEDA TO SEEK
                                                 INERLOCUTORY REVIEW OF
  17                                             THE DENIAL
  18
  19   //
  20   //
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   1                                 I.    INTRODUCTION
   2         Because the facts and historical evidence presented here show that the
   3   original illegal entry law was enacted with a discriminatory purpose and still has a
   4   disparate impact, § 1325 is presumptively unconstitutional under Village of
   5   Arlington Heights v. Metropolitan Housing Development Corp., 429 U.S. 252
   6   (1977). The burden thus shifts to the government to show that Congress would have
   7   passed the 1929 law in the absence of any discriminatory purpose. If the
   8   government cannot make this showing, the law is invalid, and the Court must
   9   dismiss Mr. Zepeda’s criminal charge.
  10         At a minimum, if the Court believes Mr. Zepeda has not shown a
  11   discriminatory purpose and a disparate impact, it should schedule an evidentiary
  12   hearing. At this hearing, Mr. Zepeda will present expert testimony as further
  13   evidence of the law’s discriminatory origins. The Court should also schedule an
  14   evidentiary hearing if the government submits evidence the Court believes may be
  15   sufficient to rebut Mr. Zepeda’s evidence. But if the government does not attempt
  16   to rebut his evidence, or cannot do so, the law is unconstitutional, and the Court
  17   must dismiss the complaint.
  18         Finally, this Court should prohibit the arrest of Mr. Zepeda at the courthouse
  19   as civil deportation arrests at courthouses violates long-standing common law
  20   principles, as well as Mr. Zepeda’s Sixth Amendment and Due Process rights. If
  21   this Court fails to grant Mr. Zepeda’s motion, he will be vulnerable to irreparable
  22   harm. Mr. Zepeda requests that this Court stay the pending trial or final resolution
  23   of the case until this motion is resolved. If the Court is not inclined to grant the
  24   request for a stay, he requests that the Court notify counsel as soon as possible
  25   because counsel intends to appeal the denial of the stay to the district court.
  26                 II.    MOTION TO DISMISS THE COMPLAINT
  27         A.     Relevant History surrounding the Enactment of § 1325
  28         In April 2020, the Supreme Court relied on historical evidence of a state
                                            3
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   1   legislature’s racial motives to strike down a criminal law enacted a century earlier.
   2   See Ramos v. Louisiana, 140 S. Ct. 1390 (2020). Although the law was later
   3   reenacted with no evidence of animus, the Court refused to ignore the “racially
   4   discriminatory reasons that [the state] adopted [its] peculiar rules in the first place.”
   5   Id. at 1401 (emphasis in original). Even the justices’ “shared respect for rational
   6   and civil discourse” could not “supply an excuse for leaving an uncomfortable past
   7   unexamined.” Id. at 1401 n.44.
   8            Like the law in Ramos, the law criminalizing illegal entry into the United
   9   States at 8 U.S.C. § 1325 has an “uncomfortable past” that must be examined. Id.
  10   Enacted at the height of the eugenics movement, the “Undesirable Aliens Act of
  11   1929” was conceived, drafted, and enacted by white supremacists out of a belief
  12   that the “Mexican race”1 would destroy the racial purity of the United States.
  13   Legislators referred to Mexicans as “mongrels” and “peons.”2 They claimed
  14   Mexicans were “poisoning the American citizen.”3 They sought to keep the
  15   country’s blood “white and purely Caucasian.”4 They solicited reports and
  16   testimony from a eugenicist who likened immigration policy to the “breed[ing] of
  17   thoroughbred horses.”5 Not only did this racism underlie the original version of §
  18   1325, the law has disparately impacted Mexicans and other Latin Americans in the
  19   century since.
  20
  21   1
         In the early 20th century, “Mexican” was conceptualized as a race rather than a
  22   nationality. For instance, the 1930 census listed “Mexican” as a “Color or Race.”
       United          States        Census         Bureau,         History:        1930,
  23   https://www.census.gov/history/www/through_the_decades/index_of_questions/1
       930_1.html. And “[f]rom at least 1846 until as recently as 2001 courts throughout
  24   the United States have utilized the term ‘Mexican race’ to describe Latinos.” Lupe
       S. Salinas, Immigration and Language Rights: The Evolution of Private Racist
  25   Attitudes into American Public Law and Policy, 7 Nev. L.J. 895, 913 (2007).
       2
         See infra at 8, 10, 11, 16.
  26   3
         See infra at 14, 21.
  27   4
         See infra at 11.
       5
  28     See infra at 12-13.
                                                 4
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   1         B.     Legal Framework
   2         The Fifth Amendment of the Constitution provides that no person shall be
   3   “deprived of life, liberty, or property, without due process of law.” U.S. Const.
   4   amend. V. This clause contains an implicit guarantee of equal protection in federal
   5   laws identical to what the Fourteenth Amendment guarantees in state laws. See
   6   Sessions v. Morales-Santana, 137 S. Ct. 1678, 1686 n.1 (2017).
   7         A law may violate equal protection in three ways. First, a law may
   8   discriminate on its face. See, e.g., Loving v. Virginia, 388 U.S. 1 (1967). Second,
   9   authorities may apply a facially neutral law in a discriminatory way. See, e.g., Yick
  10   Wo v. Hopkins, 118 U.S. 356 (1886). Third, a legislature may enact a facially
  11   neutral law with a discriminatory purpose, which disparately impacts a disfavored
  12   group. See, e.g., Arlington Heights, 429 U.S. at 265–68.
  13         Here, Mr. Zepeda challenges § 1325 only under the third rationale, so the
  14   legal framework of Arlington Heights applies. Arlington Heights clarified that the
  15   effect of a racially discriminatory law does not alone make it unconstitutional—
  16   challengers must also show “[p]roof of racially discriminatory intent or purpose”
  17   at the time of the law’s passage. Id. at 265 (emphasis added). Determining whether
  18   a purpose was discriminatory requires “a sensitive inquiry into such circumstantial
  19   and direct evidence of intent as may be available.” Id. at 266. Arlington Heights
  20   gave a non-exhaustive list of relevant factors to consider in this determination,
  21   including:
  22         1)     the impact of the official action and whether it bears more heavily on
  23                one race than another;
  24         2)     the historical background of the decision;
  25         3)     the specific sequence of events leading to the challenged action;
  26         4)     the [legislature’s] departures from normal procedures or substantive
  27                conclusions; and
  28         5)     the relevant legislative or administrative history.
                                                  5
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   1   Arce v. Douglas, 793 F.3d 968, 977 (9th Cir. 2015) (citing Arlington Heights, 429
   2   U.S. at 266–68).
   3            The threshold for satisfying these factors is low. Since legislatures are rarely
   4   “motivated solely by a single concern,” a challenger need not show that the
   5   legislature’s actions “rested solely on racially discriminatory purposes.” Arlington
   6   Heights, 429 U.S. at 265–66. Instead, the challenger need only show “proof that a
   7   discriminatory purpose has been a motivating factor in the decision.” Id. at 265–
   8   66 (emphasis added). See also Arce, 793 F.3d at 977 (quoting Arlington Heights to
   9   hold that a challenger need not prove discrimination was the “sole purpose” of the
  10   challenged action—only that it was a “‘motivating factor’”).
  11            Once the challenger shows that discriminatory purpose was a “motivating
  12   factor,” the burden shifts to the law’s defender to show that “the same decision
  13   would have resulted even had the impermissible purpose not been considered.”
  14   Arlington Heights, 429 U.S. at 270 n.21. See also Hunter v. Underwood, 471 U.S.
  15   222, 228 (1985). If the government cannot show that the legislature would have
  16   enacted the offending law in the “absence of the racially discriminatory
  17   motivation,” the law violates the Fifth Amendment and must be invalidated. Id. at
  18   225.6
  19            C.    Congress enacted the illegal entry law with a discriminatory
                      purpose.
  20
  21            A close examination of the political context underlying the criminalization
  22   of illegal entry in 1929 reveals a disturbing truth: that racism and eugenics were not
  23   only a “motivating factor” in the legislature’s passage of this law. Arlington
  24   Heights, 429 U.S. at 265. They were the primary factor. And as recent Supreme
  25   Court precedent confirms, courts must consider this historical evidence in
  26
       6
  27     Courts apply strict scrutiny to laws that are “motivated by a racial purpose or
       object” under Arlington Heights. Hunt v. Cromartie, 526 U.S. 541, 546 (1999)
  28   (quotations omitted).
                                                6
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   1   determining the statute’s constitutionality.
   2                  1.    Under the Arlington Heights factors, racism and eugenics were
                            a “motivating factor” in the passage of illegal entry laws.
   3
   4            While not “purporting to be exhaustive,” the five Arlington Heights factors
   5   constitute the “proper inquiry in determining whether racially discriminatory intent
   6   existed.” Arlington Heights, 429 U.S. at 268. Applying these factors shows that
   7   discrimination was unquestionably a “motivating factor” in the passage of the
   8   Undesirable Aliens Act of 1929.
   9                        a.     “The historical background of the decision.”
  10            The 1920s brought a decade of immigration legislation fueled by the
  11   eugenics movement and fears of “non-white” immigration.7 At the start of the
  12   decade, Congress passed the first numerical restriction on immigration in the
  13   United States.8 World War I had produced “a feverish sentiment against presumably
  14   disloyal ‘hyphenated Americans,’” and “few could resist the combination of
  15   nativism, job scarcity, and anti-Bolshevism that fueled the politics of restriction.”9
  16            During the remainder of the decade, legislators aimed for “‘America [to]
  17   cease to be the “melting pot.”’”10 Prominent restrictionists “spoke increasingly of
  18   ‘racial indigestion,’”11 and “the ‘contamination’ of Anglo-American society.”12
  19   Although the arrival of southern and eastern Europeans in the early 1900s “fueled
  20   the rise of American manufacturing,” nativists saw these groups as “‘undesirable
  21   immigrants’” who were “socially inferior, culturally alien, and politically
  22
       7
         See generally Daniel Okrent, The Guarded Gate: Bigotry, Eugenics, and the Law
  23   That Kept Two Generations of Jews, Italians, and Other European Immigrants Out
       of America, 2019.
  24   8
         42 Stat. 5, Act of May 19, 1921.
  25   9
         Mae Ngai, Impossible Subjects, (Princeton University Press, 2004), at 19, 20.
       10
  26      Jia Lynn Yang, One Mighty and Irresistible Tide: The Epic Struggle Over American
       Immigration, 2020, at 3 (quoting Senator David A. Reed).
  27   11
          Ngai, at 23.
       12
  28      Kelly Lytle Hernández, Migra!: A History of the U.S. Border Patrol, 2010, at 28.
                                               7
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   1   suspect.”13
   2         These fears of non-white immigration were bolstered by the growing
   3   acceptance of eugenics—a theory that “captured the imagination of many of
   4   America’s leading intellectuals.”14 The popular magazine The Saturday Evening
   5   Post ran articles warning that new immigrants were racially inferior, impossible to
   6   assimilate, and a threat to stability and democracy.15 The leader of a major scientific
   7   institution contended that neither education nor environment could alter the
   8   “‘profound and inborn racial differences’ that rendered certain people inferior.”16
   9   And states throughout the country were drafting laws “based on this burgeoning
  10   race science, including aggressive sterilization programs.”17
  11         At the center of the eugenics movement was Dr. Harry H. Laughlin, the
  12   director of the Eugenics Record Office.18 Dr. Laughlin was well known for his
  13   model sterilization law that many states and countries, including the Third Reich of
  14   Nazi Germany, used as a template.19 During the 1920s, Dr. Laughlin testified before
  15   Congress multiple times and produced four reports that discussed topics such as
  16   “race crossing,” “mate selection,” “fecundity,” “racial composition,” and the
  17   “individual quality of future population.” Exhibit A, The Eugenical Aspects of
  18   Deportation: Hearings before the Committee on Immigration and Naturalization
  19   House of Representative, 70th Congress, Feb. 21, 1928, 2–3. Relying heavily on
  20   these theories, Congress would anchor its immigration legislation in eugenics and
  21
  22   13
          Hernández, at 28.
  23   14
          Yang, at 35.
       15
  24      Yang, at 8.
       16
          Okrent, at 3.
  25   17
          Okrent, at 38. Those sterilization laws were affirmed in the now infamous
  26   decision Buck v. Bell, 274 U.S. 200, 207 (1927).
       18
          Ngai, at 24.
  27   19
           Harry Laughlin and Eugenics, Truman State University. Accessible at
  28   https://historyofeugenics.truman.edu/altering-lives/sterilization/model-law/.
                                                8
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   1   racial inferiority for the remainder of the decade.20
   2                       b.     “The specific sequence of events leading to the
                                  challenged action.”
   3
   4         In the early 1920s, Congress began to focus its legislation around the
   5   exclusion of “undesirable” immigrants—which was often code for non-white. See
   6   Ave. 6E Investments, LLC v. City of Yuma, Ariz., 818 F.3d 493, 505–06 (9th Cir.
   7   2016) (holding that “the use of ‘code words’ may demonstrate discriminatory
   8   intent”). The first such law was the National Origins Act of 1924, which established
   9   quotas based on the national origins of U.S. citizens as reflected in the 1920 census.
  10         The quotas created by the National Origins Act were skewed to keep the
  11   nation’s “racial strains” predominantly Anglo-Saxon.21 The law on its face did not
  12   count “nonwhite people residing in the United States” toward the quotas it
  13   established. Indeed, its newly-created “Quota Board” interpreted this provision to
  14   exclude all Black people; all East and South Asians (including those who had
  15   American citizenship by birth); and all citizens in Hawai‘i, Puerto Rico, and
  16   Alaska.22 Congress and the president accepted these exclusions under pressure to
  17   “stand firm against the efforts of ‘hyphenates’ who would ‘play politics with the
  18   nation’s blood stream.’”23
  19         Yet there was a wrinkle in the National Origins Act—it did not set quotas on
  20   immigrants from countries in the Western Hemisphere. This was due to the
  21   influence of large agricultural businesses that “relied heavily on labor from just
  22   over the border.”24 As one representative complained, there was no chance of
  23
       20
  24       See Legislative History of American Immigration Law, 1798-1965
       (Philadelphia: University of Pennsylvania Press, 1981) 212-13.
  25   21
          Ngai, at 24.
       22
  26      Ngai, at 26.
       23
          Ngai, at 35.
  27   24
          Hutchinson, Legislative History of American Immigration Law, 1798-1965
  28   (Philadelphia: University of Pennsylvania Press, 1981) 212.
                                               9
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    1   capping the number of Mexican immigrants because too many growers were
    2   “interested in the importation of these poor peons.” Exhibit B, Cong. Rec. House
    3   3619, Feb. 16, 1929.
    4         Legislators were not happy about this exclusion. During congressional
    5   hearings, Representative Martin Madden complained that the bill “leaves open the
    6   doors for perhaps the worst element that comes into the United States—the
    7   Mexican peon.” Exhibit C, Cong. Rec. 5887, Apr. 8, 1924. Representative Patrick
    8   O’Sullivan criticized the restrictions on Italian immigrants, stating that “the average
    9   Italian is as much superior to the average Mexican as a full-blooded Airedale is to
   10   a mongrel.” Exh. C, Cong. Rec. 5900. Another congressman asked, “What is the
   11   purpose of closing the front door to keep out undesirables from Europe when you
   12   permit Mexicans to come in here by the back door by the thousands and
   13   thousands?”25
   14         Despite passing one of the most sweeping immigration laws in decades,
   15   legislators were not satisfied. So less than two years after passing the bill, four men
   16   began to press a new type of immigration bill that would approach immigration
   17   from a criminal—rather than a civil—angle.
   18                       c.     “The relevant legislative or administrative history.”
   19         After passage of the National Origins Act of 1924, the Department of Labor
   20   (which at that time governed the Bureau of Immigration) began implementing
   21   Congress’s new quota system.26 Then-Secretary of Labor James Davis was a strong
   22   advocate of Dr. Laughlin and his eugenics theories—even using them as the basis
   23   for policies he had developed and published under the title “Selective Immigration
   24   or None.”27 Davis warned that the “rat type” was coming to the United States, and
   25
   26   25
           Hernández, at 28.
   27   26
           Hans P. Vought, The Bully Pulpit (Macon: Mercer University Press, 2004) 174.
        27
   28      Vought at 174.
                                                10
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    1   that these “rat men” would jeopardize the American gene pool.28
    2         Secretary Davis was nevertheless torn between his belief in eugenics and his
    3   responsibility to maintain a large labor supply for the railroad and agriculture
    4   industries.29 So with help from devout racist (and suspected Ku Klux Klan member)
    5   Senator Coleman Blease,30 Davis developed a compromise—Congress would
    6   criminalize border crossing after the fact, rather than prevent it in the first place.31
    7   That way, they reasoned, authorities could expel Mexicans through a criminal
    8   prosecution after the growing season was over, thereby avoiding resistance from
    9   businesses that depended on Mexican labor.32
   10         Secretary Davis and Senator Blease found two eager collaborators in the
   11   House of Representatives, both of whom were on the powerful Immigration and
   12   Naturalization Committee. Representative John C. Box from Texas had long
   13   characterized the goal of immigration law as “the protection of American racial
   14   stock from further degradation or change through mongrelization.” Exhibit D,
   15   Cong. Rec. 2817, Feb. 9, 1928. In one speech at an immigration conference, Rep.
   16   Box had explained that
   17         [t]he Mexican peon is a mixture of Mediterranean-blooded Spanish
              peasant with low-grade Indians who did not fight to extinction but
   18         submitted and multipled as serfs. Into that was fused much negro slave
              blood….The prevention of such mongrelization and the degradation
   19         it causes is one of the purposes of our [immigration] laws.
   20   Exh. D, Cong. Rec. 2817–2818. Box believed this importation was “raising a
   21   serious race question” because Mexicans were “essentially different from us in
   22
        28
   23      Vought at 174–75.
        29
           Vought at 216.
   24   30
           For biographical and historical context about Senator Blease, see Simon, B.
   25   “The appeal of Cole Blease of South Carolina: Race, Class, and Sex in the New
        South,” The Journal of Southern History, Feb., 1996, Vol. 62, No. 1 (Feb., 1996),
   26   pp. 57-86. Accessible at: http://www.jstor.com/stable/2211206.
        31
           MacDougall, Ian, Behind the Criminal Immigration Law: Eugenics and White
   27   Supremacy, ProPublica, June 19, 2020.
        32
   28      Id.
                                                 11
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    1   character, in social position.” Exh. B, Cong. Rec. 3619.
    2         Box was joined by the influential Chairman of the House Immigration and
    3   Naturalization Committee, Representative Albert Johnson of Washington.
    4   Chairman Johnson—for whom the 1924 “Johnson-Reed” National Origins Act was
    5   named—was an “energetic and vehement racist and nativist.” He headed the
    6   Eugenics Research Association, a group that opposed interracial marriage and
    7   supported forced sterilizations.33 He also proudly described his 1924 law as a
    8   “bulwark against ‘a stream of alien blood, with all its inherited misconceptions
    9   respecting the relationships of the governing power to the governed.”34 Within two
   10   years of the 1924 Act, Chairman Johnson turned to legislation that would exclude
   11   the “Mexican race,” explaining that while the argument for immigration restriction
   12   had previously been economic, now “‘the fundamental reason for it is
   13   biological.’”35
   14         Following the lead of these legislators, other lawmakers soon “turned to
   15   narratives of racial threat to justify restriction.”36 In 1928, for instance,
   16   Representative Robert A. Green of Florida delivered a radio speech (later entered
   17   into the congressional record) that advocated for Western Hemisphere quotas. He
   18   asserted that countries south of the United States are “composed of mixture blood
   19   of White, Indian, and negro.” Exhibit E, Cong. Rec. 2462, Feb. 3, 1928.
   20   Immigration from these countries, he believed, created a “very great penalty upon
   21   the society which assimilates,” and put it at a disadvantage to countries that have
   22   “kept their blood white and purely Caucasian.” Exh. E, Cong. Rec. 2462.
   23         Chairman Johnson soon convened hearings on new immigration legislation.
   24
        33
           Dennis Wepman, Immigration: From the Founding of Virginia to the Closing of
   25   Ellis Island (New York City, Facts on File, 2002), p. 242–43.
        34
   26      Roger Daniels, Guarding the Golden Door (NY: Hill and Wang, 2004), p. 55.
        35
           Okrent at 3.
   27   36
           Gonzalez O’Brien, Benjamin. Handcuffs and Chain Link (University of
   28   Virginia Press 2018), Chap. 1.
                                                 12
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    1   See Exhibit F, Hearings Before the Committee on Immigration and Naturalization,
    2   69th Congress, Hearing 69.1.3., Jan. 12, 1926. At the first hearing, Chairman
    3   Johnson admitted into the record a letter from a constituent in El Paso who urged
    4   the legislators to keep out “the scoff and scum, the mongrel, the bootlegger element,
    5   from Mexico.” Exh. F at 30. In response to this letter, Commissioner General of
    6   Immigration Harry Hull, stated, “I think he is right.” Exh. F at 30. Rep. Box added,
    7   “I have some letters, Mr. Chairman, just like that.” Exh. F at 30.
    8         The following month, the same House committee held a hearing on “The
    9   Eugenical Aspects of Deportation,” where the principle witness was the well-
   10   known eugenicist Dr. Laughlin. Exh. A, at 1. Early in the hearing, Chairman
   11   Johnson praised Dr. Laughlin’s prior reports to Congress on race crossing, mate
   12   selection, and fecundity, describing one as a “priceless” resource that would “bear
   13   intimately on immigration policy.” Exh. A at 3.
   14         Dr. Laughlin testified about his latest eugenics report, the goal of which was
   15   to “protect American blood from alien contamination.” Exh. A at 3. When
   16   Dr. Laughlin encouraged the committee to conduct future research on the effect of
   17   “race crossing within the United States,” Chairman Johnson replied that such a
   18   study would “be of great use to the committee in its deliberations.” Exh. A at 11.
   19         Dr. Laughlin discussed the need for further research into “mate selection,”
   20   because “whenever two races come in contact there is always race mixture” even
   21   though the “upper levels tend to maintain themselves because of the purity of the
   22   women of the upper classes.” Exh. A at 19. The job of any government,
   23   Dr. Laughlin explained, was to “demand fit mating and high fertility from the
   24   classes who are better endowed physically, mentally, and morally by heredity.”
   25   Exh. A at 19. By deporting or excluding the “lower races” from the country, Dr.
   26   Laughlin contended, “[i]mmigration control is the greatest instrument which the
   27   Federal Government can use in promoting race conservation of the Nation.” Exh.
   28   A at 19.
                                                  13
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    1            In response, Chairman Johnson advocated for Congress’s use of the
    2   “principle of applied eugenics” to “do everything possible” to reduce crime by
    3   “debarring and deporting” more people. Exh. A at 25. Rep. Box agreed, stating,
    4   “we will have to control immigration to suit our own needs or we will lose our
    5   national character,” which would “spell destruction for the future of America.” Exh.
    6   A at 25.
    7            Dr. Laughlin even compared the drafters of deportation laws to “successful
    8   breeders of thoroughbred horses,” who would never consider “acquiring a mare or
    9   a stallion not of the top level” for their “stud farm.” Exh. A at 44. One such
   10   successful breeder he knew “weeds out from the lower levels and recruits by
   11   purchase”—a process that is “analogous to immigration in man.” Exh. A at 44–45.
   12   “Man is an animal,” Dr. Laughlin explained, “and so far as heredity and future
   13   generations are concerned, there is considerable real basis for [this] comparison.”
   14   Exh. A at 45.
   15            When such racial engineering is not possible, Dr. Laughlin warned,
   16   deportation of the “undesirable individual” becomes even more critical; otherwise,
   17   “we cannot get rid of his blood no matter how inferior it may be, because we cannot
   18   deport his offspring born here.” Exh. A at 45. Dr. Laughlin predicted that so long
   19   as the nation’s borders remained open to immigrants, “there will always be need
   20   for deportation, or the ‘final selection.’” Exh. A at 44. In response to this testimony,
   21   Chairman Johnson agreed that “[i]mmigration looks more and more like a
   22   biological problem, and if the work of this committee results in establishing this
   23   principle in our immigration policy we will be well repaid for our efforts.” Exh. A
   24   at 46.
   25            Though Chairman Johnson’s initial legislation stalled, the compromise with
   26   the agricultural industry brokered by Secretary Davis and Senator Blease soon
   27   made a breakthrough. On January 18, 1929, Senator Blease, on behalf of the Senate
   28   Committee on Immigration, submitted a report to the full Senate recommending
                                             14
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    1   passage of a law “making it a felony with penalty for certain aliens to enter the
    2   United States under certain conditions in violation of law.” Exhibit G, Report from
    3   the Committee on Immigration, 70th Congress, Report No. 1456, at 1. This report
    4   was accompanied by a letter from Secretary Davis on behalf of the Department of
    5   Labor advocating for passage of the law. Exh. G at 2.
    6         The following week, Senator Blease presented this bill on the Senate floor,
    7   where he reported that Chairman Johnson had “asked me to get the measures over
    8   to the House [within two days] if I possibly could.” Exhibit H, Cong. Rec. 2092,
    9   Jan. 23, 1929. The full Senate passed the bill with almost no discussion or debate.
   10   Exh. H, Cong. Rec. 2092.
   11         Two weeks later, Chairman Johnson submitted a report from the Committee
   12   of Immigration and Naturalization to the full House recommending passage of the
   13   illegal entry law. Exhibit I, Deportation of Aliens, 70th Congress, Report. No. 2397,
   14   Feb. 6, 1929. The language of the illegal entry law was virtually identical to the
   15   current version of § 1325. See Exh. I at 3.
   16         During debate on the bill, Rep. Thomas L. Blanton complained that
   17   Mexicans “come into Texas by hordes all of the time” and that “my friend Judge
   18   Box has been making a just fight against this situation for years.” Exh. B, Cong.
   19   Rec. 1929. Rep. Blanton urged the House to “apprehend the thousands of these
   20   Mexicans who are in Texas now unlawfully and put them back across the Rio
   21   Grande and keep them there.” Exh. B, Cong. Rec. 1929. Rep. Schafer added that
   22   “[t]hese Mexicans also come into Wisconsin in droves,” and Rep. Blanton
   23   challenged others to visit the international ports of entry in Texas to see the “hordes
   24   that come across the bridges with no intention of ever going back.” Exh. B, Cong.
   25   Rec. 3619. Rep. Fitzgerald then added that from a “moral standpoint,” Mexicans
   26   were “poisoning the American citizen” because they are “of a class” that is “very
   27   undesirable.” Exh. B, Cong. Rec. 3620.
   28         Representative Free assured the representatives that a quota system was
                                              15
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    1   unnecessary because under existing laws, immigrants could already be excluded if
    2   they were idiots, imbeciles, feeble-minded persons, epileptics, psychopaths,
    3   alcoholics, beggars, vagrants, laborers, criminals, polygamists, illiterates, or
    4   prostitutes. Exh. B, Cong. Rec. 3620. Rep. Free then asserted that “if we simply
    5   enforced” these laws, “we could keep out most Mexicans.” Exh. B, Cong. Rec.
    6   3620. The legislature applauded. Exh. B Cong. Rec. 3620.
    7         Minutes later, the bill passed, and the president signed it into law days later.
    8   Exh. B, Cong. Rec. 3621.
    9                      d.      “The legislature’s departures from normal procedures or
                                   substantive conclusions.”
   10
   11         Examining this Arlington Heights factor—whether a decisionmaker departs
   12   from “normal procedures or substantive conclusions”—requires courts to consider
   13   any “procedural irregularities” leading up to the enactment of a law that could
   14   signal a discriminatory intent. Pac. Shores Properties, LLC v. City of Newport
   15   Beach, 730 F.3d 1142, 1164 (9th Cir. 2013). Courts may also consider illogical or
   16   counter-intuitive conclusions in the decision-making process. See, e.g., Ave. 6E
   17   Investments, LLC v. City of Yuma, 818 F.3d 493, 507 (9th Cir. 2016) (citing the
   18   city’s decision to “disregard the zoning advice of its own experts”). Here, not only
   19   do the overtly racist statements of legislators during the law’s passage show its
   20   discriminatory purpose, several irregularities and illogical conclusions in the
   21   passage of the 1929 law also implicate this factor.
   22         To begin, the 1920s was the first and only era in which Congress openly
   23   relied on the now-discredited theory of eugenics to enact immigration legislation.
   24   Both the 1924 and 1929 immigration laws drew heavily on Dr. Laughlin’s belief
   25   that immigration control was a matter of racial engineering, akin to horse breeding.
   26   And while Congress ultimately repealed the eugenics-based National Origins Act
   27
   28
                                                  16
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    1   of 1924 based on a “racial egalitarian motivation,”37 illegal entry remains one of
    2   the only laws still in effect from that era. See Immigration and Nationality Act of
    3   1965, Pub. L. 89–236 (abolishing the National Origins Formula).
    4         Second, the law represents one of Congress’s first attempts to control
    5   immigration through criminal, rather than civil, laws. Prior to 1929, Congress’s
    6   efforts to regulate immigration generally occurred through national quotas or
    7   exclusion. But with the 1929 law, Congress sought to punish immigrants after their
    8   entry—not just exclude them. Not only did this avoid concerns from agricultural
    9   interests, it reflected the widely held belief that Mexicans were prone to criminality
   10   (even though studies at the time showed the opposite) and must be treated as
   11   criminals. Compare Exh. L at 2 (Rep. Box stating that “[f]ew, if any, other
   12   immigrants have brought us so large a proportion of criminals and paupers as have
   13   the Mexican peons”) with Gonzalez O’Brien, Handcuffs and Chain Link, Chap. 1
   14   (congressional study in 1931 found “no conclusive evidence that Mexican
   15   immigrants were any more inclined toward criminality than were native whites”).
   16   In other words, Congress’ focus on the “illegality” of Mexican immigrants soon
   17   “linked this illegality to criminality.”38
   18         Third, the racial vitriol expressed during the debates was directed almost
   19   exclusively at Mexicans—even though Canadians were also entering the United
   20   States in record numbers. See Exh. B at 8 (stating that 81,506 Canadians entered
   21   the United States in 1928). If the 1929 Act were motivated by generalized
   22   xenophobia or economic anxiety, rather than racism, one would expect legislators
   23   to criticize foreigners across the board. But no legislator referred to Canadians as
   24   “mongrels.” No legislator complained of “hordes” of Canadians crossing the
   25
   26   37
           Gabriel J. Chin, The Civil Rights Revolution Comes to Immigration Law: A New
        Look at the Immigration and Nationality Act of 1965, 75 N.C. L. Rev. 273, 301
   27   (1996)
        38
   28      Gonzalez O’Brien, Handcuffs and Chain Link, Chap. 1.
                                                  17
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    1   border. No legislator objected that Canadians were “poisoning the American
    2   citizen.” These irregularities show that not only was Congress’s passage of the
    3   Undesirable Aliens Act based on eugenics and racism, it also departed from the
    4   substantive conclusions underlying most immigration laws.
    5                      e.     “The impact of the official action and whether it bears
                                  more heavily on one race than another.”
    6
    7         Within a year of the 1929 criminalization of illegal entry, the government
    8   had prosecuted 7,001 cases; by 1939, that number rose to over 44,000.39 In each of
    9   these years, individuals from Mexico comprised no fewer than 84% of those
   10   convicted, and often made up as many as 99% of defendants.40 And the number of
   11   prosecutions has soared in recent years—since 2008, annual prosecutions for §
   12   1325 have typically hovered around 50,000 or 60,000.41 So even under a
   13   conservative estimate, this means that since the law’s passage over a million
   14   Mexicans have likely been prosecuted for illegal entry—far more than any other
   15   nationality.
   16         In sum, applying the five Arlington Heights factors shows that racism and
   17   eugenics were a “motivating factor” in the passage of the Undesirable Aliens Act.
   18   And as new Supreme Court precedent confirms, courts must consider this historical
   19   evidence in determining whether a statute is constitutional.
   20
   21
   22
   23   39
           Annual Report of the Attorney General of the United States for the Fiscal Year
        1939, 37; Kelly Lytle Hernández, City of Inmates: Conquest, Rebellion, and the
   24   Rise of Human Caging in Los Angeles, 1771-1965, n.6 at 138–39 (UNC Press,
        2017).
   25   40
           Hernández, supra n. 6, at 138-39 (citing U.S. Bureau of Prisons, Federal
   26   Offenders, Fiscal Years, 1931-36.
        41
   27      “§ 1325 Defendants Charged (Annual),” Executive Office for United States
        Attorneys,        available     at:      https://www.justice.gov/opa/press-
   28   release/file/1210896/download.
                                             18
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    1                2.     New Supreme Court precedent confirms that discriminatory
                            purpose is relevant to a law’s constitutionality.
    2
    3         Two recent Supreme Court cases confirm that a discriminatory purpose that
    4   fueled a law’s original enactment remains relevant in determining its
    5   constitutionality. In Ramos v. Louisiana, the Court struck down a state law
    6   permitting convictions by non-unanimous juries, citing the “racially discriminatory
    7   reasons that Louisiana and Oregon adopted their peculiar rules in the first place.”
    8   140 S. Ct. at 1401 (emphasis in Ramos). Although Justice Alito argued in his dissent
    9   that both states later recodified their non-unanimity rules with no mention of race,
   10   the majority rejected the notion that this cured the laws’ original animus, holding
   11   that if courts must “assess the functional benefits” of a law, they cannot “ignore the
   12   very functions those rules were adopted to serve.” Id. at 1401 n.44. Nor could the
   13   justices’ “shared respect for rational and civil discourse . . . supply an excuse for
   14   leaving an uncomfortable past unexamined.” Id. (citation and quotations omitted).
   15         Two months later, the Supreme Court struck down a Montana law
   16   prohibiting families from using state-sponsored scholarships at religious schools.
   17   See Espinoza v. Montana Dep't of Revenue, __ S. Ct. __, 2020 WL 3518364 (June
   18   30, 2020). The majority relied on the law’s “checkered tradition” of underlying
   19   religious discrimination, even though it was reenacted in the 1970s “for reasons
   20   unrelated to anti-Catholic bigotry.” Id. at *9.
   21         Concurring, Justice Alito invoked his Ramos dissent, noting its argument that
   22   courts cannot examine impermissible motives underlying the original version of a
   23   law where states have “readopted their rules under different circumstances in later
   24   years.” Id. at *16 (quotations omitted). Justice Alito then stated, “But I lost, and
   25   Ramos is now precedent.” Id. Justice Alito then provided an extensive history of
   26   the anti-Catholic and anti-immigrant motives underlying Montana’s law,
   27   concluding that “[u]nder Ramos, it emphatically does not matter whether Montana
   28   readopted the no-aid provision for benign reasons. The provision’s ‘uncomfortable
                                                 19
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    1   past’ must still be ‘examined.’” Id. at *19 (quoting Ramos, 140 S. Ct., at 1396,
    2   n.44).
    3            Here, the original illegal entry law codified in the Undesirable Aliens Act of
    4   1929 has been reenacted several times, most notably in the Immigration and
    5   Nationality Act of 1952.42 But Ramos and Espinoza both confirm that not only do
    6   courts examine the racial motivations of a law at the time of its passage, later
    7   reenactments do not cleanse the law of its original taint.
    8            The government may also argue that even if racism and eugenics were a
    9   “motivating factor” in § 1325’s original passage, the law currently serves other
   10   legitimate purposes. But laws enacted with a discriminatory purpose cannot be
   11   “cured” merely because they later satisfy a non-discriminatory purpose. See
   12   Hunter, 471 U.S. at 233 (rejecting Alabama’s argument that “events occurring in
   13   the succeeding 80 years had legitimated” a racially motivated disenfranchisement
   14   provision). Rather, when a court determines that a law’s “original enactment was
   15   motivated by a desire to discriminate . . . on account of race and the section
   16   continues to this day to have that effect,” the court must conclude that the law
   17   “violates equal protection under Arlington Heights.” Id.
   18            D.    Section 1325 continues to disparately impact Mexican and other
                       Latinx defendants.
   19
   20            Arlington Heights requires challengers to show that a law was enacted with
   21   a discriminatory purpose and disparately impacts a particular group. See 429 U.S.
   22   at 265. Here, not only were racism and eugenics a discriminatory purpose
   23   motivating the enactment of the first border crossing laws, such laws continue to
   24   disparately impact Mexican and other Latinx defendants—both through the sheer
   25
        42
   26     See June 27, 1952, c. 477, Title II, ch. 8, § 275, 66 Stat. 229; Pub.L. 99-639,
        § 2(d), Nov. 10, 1986, 100 Stat. 3542; Pub.L. 101-649, Title I, § 121(b)(3), Title V,
   27   § 543(b)(2), Nov. 29, 1990, 104 Stat. 4994, 5059; Pub.L. 102-232, Title III,
        § 306(c)(3), Dec. 12, 1991, 105 Stat. 1752; Pub.L. 104-208, Div. C, Title I,
   28   § 105(a), Sept. 30, 1996, 110 Stat. 3009-556.
                                                 20
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    1   number of prosecutions and the hostile climate that persists.
    2         Though no publicly available statistics exist concerning the national origin
    3   of persons prosecuted for § 1325 today, the overwhelming number of Border Patrol
    4   arrests along the southern border are of Mexicans or people of Latinx origin. In
    5   2000, over 97% of persons apprehended at the border were Mexican. In 2005,
    6   Mexicans made up 86% of apprehensions, and in 2010, 87%.43 In the last decade,
    7   Mexicans have made up a smaller percentage of arrestees due to increased
    8   migration from Central America, but combined, the two groups easily constitute
    9   the overwhelming majority of border crossers.44 See The Committee Concerning
   10   Community Improvement v. City of Modesto, 583 F.3d 690, 704 (9th Cir. 2009)
   11   (recognizing a disparate impact on Latinx people where the neighborhoods were
   12   “trending” Latinx during the relevant period).
   13         Overall, these disparities are comparable to disparities that have supported
   14   other successful Arlington Heights challenges. See, e.g., Ave. 6E Investments, 818
   15   F.3d at 497 (concentrating most low-income housing in neighborhoods that are
   16   75% Hispanic); Arce, 793 F.3d at 978 (targeting a program, 90% of whose enrollees
   17   were of Mexican or other Hispanic origin); Community Improvement, 583 F.3d at
   18   704 (excluding 71% Latino areas from benefits, while extending those benefits to
   19   other areas that were only 48% Latino).
   20         The disparate impact of border crossing crimes also manifests itself in other
   21   forms of hostility towards Mexican and Latinx immigrants. Echoes of the racialized
   22
   23   43
           Border Patrol Total Apprehensions by Mexico and Other Than Mexico, 2000–
        2019,            https://www.cbp.gov/sites/default/files/assets/documents/2020-
   24   Jan/U.S.%20Border%20Patrol%20Total%20Monthly%20Family%20Unit%20
        Apprehensions%20by%20Sector%20%28FY%202013%20-
   25   %20FY%202019%29_0.pdf.
        44
   26      U.S. Border Patrol Nationwide Apprehensions by Citizenship and Sector, 2007
        –      2019,     https://www.cbp.gov/sites/default/files/assets/documents/2020-
   27   Jan/U.S.%20Border%20Patrol%20Nationwide%20Apprehensions%20by%20C
        itizenship%20and%20Sector%20%28FY2007%20-
   28   %20FY%202019%29_1.pdf.
                                                21
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    1   rhetoric surrounding the original enactment of § 1325 persist in the policies of the
    2   current administration, which has ramped up prosecutions under a “zero tolerance”
    3   policy.45 The President has described Mexican and Latinx immigrants as “bad
    4   hombres,”46 “animals,”47 and “stone cold rapists and murderers.”48 Cataloguing
    5   several such statements, one court observed: “One could hardly find more direct
    6   evidence of discriminatory intent towards Latino immigrants.” CASA de Maryland,
    7   355 F. Supp. 3d at 325. Most pertinent here, some of the President’s remarks echo
    8   the original rhetoric surrounding the law’s passage:
    9         Associating Mexican immigrants with crime and disease: Proponents of the
   10   original illegal entry law painted Mexicans as criminals who were bringing disease
   11   and poverty. In a February 1929 speech, for example, Rep. Box argued that
   12   Mexican immigrants “are badly infected with tuberculosis and other diseases; there
   13   are many paupers among them; there are many criminals; they work for lower
   14   wages; they are objectionable as immigrants when tried by the tests applied to other
   15   aliens.” Exh. B, Cong. Rec. 3620.49 Likewise, in a speech prior to the election, then-
   16
        45
           See “Attorney General Announces Zero-Tolerance Policy for Criminal Illegal
   17   Entry,” U.S. Dept. of Justice, Apr. 6, 2018, available at:
        https://www.justice.gov/opa/pr/attorney-general-announces-zero-tolerance-
   18   policy-criminal-illegal-entry.
        46
   19      Debate: 3rd Presidential Debate Between Donald Trump and Hillary Clinton
        – October 19, 2016, https://youtu.be/VvE6EjEf6G0?t=1146; see also Donald
   20   Trump (@realDonaldTrump), Twitter (May 17, 2019, 3:44AM),
        https://twitter.com/realDonaldTrump/status/1129336982319050752 (“Border
   21   Patrol is apprehending record numbers of people at the Southern Border. The bad
        ‘hombres,’ of which there are many, are being detained & will be sent home.”).
   22   47
           Remarks: Donald Trump Hosts a Roundtable on Immigration and California
        – May 16, 2018, https://youtu.be/KCGNMFXyd3Y.
   23   48
           Speech: Donald Trump Holds a Political Rally in Des Moines, Iowa – January
   24   30, 2020, https://youtu.be/c1sLLAEHvJ0?t=3059.
        49
   25      See also Exh. J, Cong. Rec. 3547 (statement of Rep. Green) (“If you will
        examine the criminal records you will find that, in proportion to alien population,
   26   the percentage of criminals is largely foreign.”); Exh. B, Cong. Rec. 3620
   27   (statement of Rep. Fitzgerald) (“Another feature I suggest to the gentlemen is
        from a moral standpoint. [Mexican immigrants] are poisoning the American
   28   citizen.”); Exh. J, Cong. Rec. 3545 (statement of Rep. Green) (“[I]t is estimated
                                                  22
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    1   candidate Trump claimed that “[w]hen Mexico sends its people, they’re not sending
    2   their best. . . . They’re bringing drugs. They’re bringing crime. They’re rapists. And
    3   some, I assume, are good people.”50 In a subsequent statement defending those
    4   remarks, he added that Mexican immigrants were bringing “infectious disease.”51
    5   The President has since made numerous public remarks associating Mexican and
    6   Latinx immigrants with crime and disease.52
    7         Using charged language to describe southern border crossers: Legislators
    8   seeking to enact the 1929 law used charged language to describe groups crossing
    9   the border. Rep. Blanton, for example, submitted that anyone who rode “up and
   10   down the Rio Grande River for miles” could see Mexican immigrants “coming in
   11   hordes.” Exh. B, Cong. Rec. 3619. President Trump has likewise accused
   12   immigrants of “invading” and “infesting” the country.53 In one public statement,
   13
   14   there are a million criminal aliens in the United States[.]”).
        50
           Here’s Donald Trump’s Presidential Announcement Speech, Time (June 16,
   15   2016),            https://time.com/3923128/donald-trump-announcement-speech/
        (transcript of speech).
   16   51
           Jesse Byrnes, Trump: ‘Infectious disease is pouring across the border,’ The
   17   Hill (July 6, 2015), https://thehill.com/blogs/ballot-box/246982-trump-
        infectious-disease-is-pouring-across-the-border.
   18   52
           See, e.g., Speech: Donald Trump Holds a Political Rally in Colorado Springs,
        Colorado                –              February                20,             2020,
   19   https://www.youtube.com/watch?time_continue=3850&v=97I1_86Ag-
        Y&feature=emb_logo (discussing deportations of “criminal aliens” back to
   20   “Guatemala, Honduras, El Salvador, Mexico”); Chris Mills Rodrigo, Trump:
        Border wall needed to stop ‘tremendous medical problem’ coming into U.S., The
   21   Hill (December 11, 2018), https://thehill.com/homenews/administration/420870-
        trump-border-wall-needed-to-stop-tremendous-medical-problem-coming
   22   (linking lack of security at the southern border to “large scale crime and disease”).
        53
   23       See, e.g., Remarks by President Trump on the National Security and
        Humanitarian Crisis on Our Southern Border, Fed. 15, 2019,
   24   https://www.whitehouse.gov/briefings-statements/remarks-president-trump-
        national-security-humanitarian-crisis-southern-border/;         Natalie     Martinez
   25   (@natijomartinez),          Twitter       (Aug.       4,       2019,       9:16AM),
        https://twitter.com/natijomartinez/status/1158049182877458433             (collecting
   26   political ads using the word “invasion” to describe immigration); Donald J.
        Trump (@realDonaldTrump), Twitter (Jun. 18, 2018, 6:52 AM),
   27   https://twitter.com/realDonaldTrump/status/1009071403918864385
        (“Democrats . . . want illegal immigrants, no matter how bad they may be, to pour
   28   into and infest our country . . . .”).
                                                    23
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    1   President Trump said, “You know they’re bad. They’re pouring in from El
    2   Salvador, Guatemala, Honduras, Mexico, all over. They’re just pouring into our
    3   country!”54
    4         Defending family separation: In a February 1929 debate, Rep. Green stated
    5   that he did “not entertain the sob stuff about separating families, and all the
    6   propaganda which is usually forced before the committees and before the House.”
    7   Exhibit J, Cong. Rec. 3547, Feb. 15, 1929. Similarly, President Trump implemented
    8   a “zero tolerance” policy in 2018 that separated thousands of children from their
    9   parents and has continued to promote the virtues of family separation .55 “When
   10   they used to separate children,” he has stated, “far fewer people would come . . .
   11   [W]e stop[ped] the separation. The problem is you have 10 times more people
   12   coming up with their families. It’s like Disneyland now. . . . It’s a disaster.”56
   13         In line with the President’s rhetoric, administration officials have enacted
   14   hardline policies disproportionately affecting Mexicans and Latin Americans—
   15   with mass prosecutions under § 1325 their most widely used tool. In April 2018,
   16   then-Attorney General Jeff Sessions announced a “zero tolerance” policy targeting
   17   illegal entry.57 The following month, Sessions made clear at an address delivered
   18   in San Diego that “the Department of Homeland Security is now referring 100
   19   percent of illegal Southwest Border crossings to the Department of Justice for
   20
   21
        54
           S.A., 363 F. Supp. 3d at 1060.
   22   55
           Miles Parks, Scott Detrow, & Kelsey Snell, Trump Signs Order to End Family
   23   Separations,              NPR             (Jun.          20,           2018),
        https://www.npr.org/2018/06/20/621798823/speaker-ryan-plans-immigration-
   24   votes-amid-doubts-that-bills-can-pass.
        56
           Interview: Maria Bartiomo Interviews Donald Trumpon Fox Sunday Morning
   25   Features – April 28, 2019, https://youtu.be/hvUc7ONNTp4?t=89.
   26   57
           See “Attorney General Announces Zero-Tolerance Policy for Criminal Illegal
   27   Entry,” U.S. Dept. of Justice, Apr. 6, 2018, available at:
        https://www.justice.gov/opa/pr/attorney-general-announces-zero-tolerance-
   28   policy-criminal-illegal-entry.
                                                24
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    1   prosecution. And the Department of Justice will take up those cases.”58
    2         Both Sessions and Stephen Miller, a senior policy advisor to President Trump
    3   and the architect of the zero-tolerance policy,59 have drawn inspiration from the
    4   discriminatory immigration laws of the 1920s. In a series of leaked emails, Miller
    5   lauded the immigration policies of this era, suggesting to a journalist, “This would
    6   seem a good opportunity to remind people about the heritage established by Calvin
    7   Coolidge, which covers four decades of the 20th century”—i.e., the decades
    8   between the 1924 Act and its repeal in 1965.60 Likewise, in a 2015 interview with
    9   Breitbart, Sessions expressed alarm at the rising percentage of “non-native born”
   10   Americans, noting that when immigration levels were “about this high in 1924,”
   11   the President and Congress “changed the policy, and it slowed down immigration
   12   significantly.”61 He warned that repeal of those policies in 1965 had primed the
   13   country for a “surge fast past what the situation was in 1924.”62
   14         In short, both the volume and racial makeup of § 1325 prosecutions and the
   15   echoes of sentiments underlying the 1929 law show that it has disparately impacted
   16   Mexican and Latinx immigrants. Combined with the historical evidence of the
   17   law’s discriminatory purpose, this satisfies the first step of Arlington Heights.
   18
        58
   19       “Attorney General Sessions Delivers Remarks Discussing the Immigration
        Enforcement Actions of the Trump Administration,” Dept. of Justice, May 7, 2018,
   20   San Diego, California, https://www.justice.gov/opa/speech/attorney-general-
        sessions-delivers-remarks-discussing-immigration-enforcement-actions.
   21   59
           See, e.g., Julie Hirschfeld Davis & Michael D. Shear, How Trump Came to
        Enforce a Practice of Separating Migrant Families, N.Y. Times (June 16, 2018),
   22   https://www.nytimes.com/2018/06/16/us/politics/family-separation-
        trump.html?login=smartlock&auth=login-smartlock.
   23   60
            Katie Rogers & Jason DeParle, The White Nationalist Websites Cited by
   24   Stephen         Miller,       N.Y.      Times       (Nov.        18,     2019),
        https://www.nytimes.com/2019/11/18/us/politics/stephen-miller-white-
   25   nationalism.html.
        61
           Adam Serwer, Jeff Sessions’ Unqualified Praise for a 1924 Immigration Law,
   26   Atlantic                     (Jan                  10,                   2017),
        https://www.theatlantic.com/politics/archive/2017/01/jeff-sessions-1924-
   27   immigration/512591/.
        62
   28      Id.
                                                 25
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    1         E.     The burden of proof shifts to the government.
    2         Because Mr. Zepeda has shown both a discriminatory purpose and a
    3   disparate impact underlying § 1325, the burden shifts to the government to show
    4   that the Undesirable Aliens Act of 1929 would have passed “even had the
    5   impermissible purpose not been considered.” Arlington Heights, 429 U.S. at 266–
    6   68, 270 n.21. See also Hunter, 471 U.S. at 228 (shifting the burden to the law’s
    7   defenders to “demonstrate that the law would have been enacted without this
    8   factor”). The Court should thus provide the government an opportunity to make this
    9   showing; if it declines to do so, the Court should dismiss the charge.
   10         If, however, the government submits evidence showing that the 1929 law
   11   would have been enacted without a discriminatory purpose (or if the Court believes
   12   that Mr. Zepeda has not shown a disparate impact and discriminatory purpose), the
   13   Court should schedule an evidentiary hearing. Courts frequently hold evidentiary
   14   hearings and trials to hear evidence on the Arlington Heights factors. See, e.g., City
   15   of Memphis v. Greene, 451 U.S. 100, 107 (1981) (noting that the circuit court had
   16   previously remanded for a trial on the issue of discriminatory purpose); see also
   17   Democratic National Committee v. Hobbs, 948 F.3d 989, 998 (9th Cir. 2020) (en
   18   banc); Arce, 793 F.3d at 991. Indeed, the Supreme Court has found error where a
   19   lower court granted summary judgment “without an evidentiary hearing” on a
   20   legislature’s disputed motives under Arlington Heights. Hunt, 526 U.S. at 545.
   21         At this evidentiary hearing, Mr. Zepeda will present testimony from expert
   22   witnesses, including Dr. Kelly Lytle Hernández, Professor of History at the
   23   University of California, Los Angeles, and Dr. Benjamin Gonzalez O’Brien,
   24   Associate Professor of Political Science at San Diego State University. See Exhibit
   25   K, Curriculum Vitae of Prof. Lytle Hernández; Exhibit L, Curriculum Vitae of Prof.
   26   Gonzalez O’Brien. Both experts have written extensively on the Undesirable Aliens
   27   Act of 1929 and can testify about the historical events surrounding its passage. At
   28   the end of this hearing, if the government has not carried its burden to show that the
                                                   26
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    1   crime of illegal entry would have been enacted without a racially discriminatory
    2   motive, § 1325 is unconstitutional, and the Court must dismiss the charge.
    3       III.   MOTION TO PROHIBIT MR. ZEPEDA’S UNLAWFUL AND
                     UNCONSTITUTIONAL CIVIL ARREST AT COURT
    4
    5         In March of 2011, ICE’s director distributed Policy Number 10072.1 (“2011
    6   Policy”), a document that detailed the agency’s civil immigration enforcement
    7   priorities regarding non-citizens who were in the United States without
    8   authorization. The 2011 Policy said that immigration officers, facing limited
    9   resources, should focus on so-called “Priority 1 . . . aliens who pose a danger to
   10   national security or a risk to public safety . . . .” Id. In a follow-up memo, ICE
   11   explained that its policy prohibited it from initiating deportation proceedings
   12   against an “immediate victim or witness to a crime” and people “in the midst of a
   13   legitimate effort to protect their civil rights or civil liberties.” Ryan v. U.S.
   14   Immigration & Customs Enf't, 382 F. Supp. 3d 142, 148 (D. Mass. 2019). In 2014
   15   ICE released its policy on civil deportation arrests at courthouses, and instructed
   16   agents to only make such arrest against Priority 1 targets and only if it was not
   17   practical to make a civil deportation arrest elsewhere. Id.
   18         Protocols changed when President Donald Trump issued Exec. Order No.
   19   13,768, 82 Fed. Reg. 8,799, a policy that put greater emphasis on enforcement of
   20   immigration laws. The new order moved away from the Obama Administration
   21   policy that only prioritized people who pose a national security or public safety risk,
   22   and instead expanded the universe of potential arrestees to now include people who
   23   were convicted of any criminal offense, people who were merely charged with an
   24   offense, people who committed acts that constitute a chargeable criminal offense
   25   but were not actually charged, people who “engaged in fraud or willful
   26   misrepresentation” before a governmental agency, people abused social services,
   27   and people who are subject to a final order of removal. Id.
   28         On January 10, 2018, ICE issued Directive Number 110721.1 (“2018
                                           27
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    1   Courthouse Arrest Policy”), the agency’s policy for civil immigration enforcement
    2   actions inside federal, state and local courthouses. This is the policy that is currently
    3   in place. The directive said that civil deportation arrests should occur inside
    4   courthouses because parties there are usually screened for weapons before they
    5   enter the building and can be presumed to be less dangerous. Id. at *1. It permitted
    6   civil deportation arrests inside courthouses of:
    7          [S]pecific, targeted aliens with criminal convictions, gang members,
               national security or public safety threats, aliens who have been
    8          ordered removed from the United States but have failed to deport, and
               aliens who have re-entered the country illegally after being removed,
    9          when ICE officers or agents have information that leads them to
               believe the targeted aliens are present at that specific location.
   10
   11   Id. The policy also allows agents to arrest for deportation “family members and
   12   friends accompanying the target alien to court appearances or serving as a witness
   13   in a proceeding” in some circumstances. Id.
   14          With these policy memoranda as a backdrop, immigration officers in the
   15   Southern District of California have routinely arrested people charged with illegal
   16   entry in violation of 8 U.S.C. § 1325 in the courtroom or adjacent hallway
   17   immediately after the criminal case concludes. Immigration officers regularly
   18   follow defense lawyers to track § 1325 cases in various courtrooms, and they are
   19   present at trials sitting in the gallery waiting to effectuate a civil arrest once the trial
   20   is concluded. Mr. Zepeda expects similar treatment at his upcoming trial and he
   21   expects that immigration officers will attempt a civil removal arrest inside or
   22   directly outside the courtroom.
   23          Because it is routine in SDCA for border patrol agents to be present for
   24   hearings and arrest defendants in the courtroom, it is highly likely that immigration
   25   officials plan to effectuate a warrantless removal arrest in this courthouse on the
   26   date of Mr. Zepeda’s trial. This Court must take action to prevent immigration
   27   officers from effectuating a civil deportation arrest of Mr. Zepeda while Mr. Zepeda
   28   is at the courthouse or comes and goes from the courthouse for official business.
                                                28
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    1   As explained below, this practice violates long-standing common law principles as
    2   well as Mr. Zepeda’s Sixth Amendment and Due Process rights. If this Court fails
    3   to grant Mr. Zepeda’s motion, he will be vulnerable to irreparable harm. As such,
    4   he requests that this Court stay the proceedings or final conclusion of the case until
    5   this motion is resolved on appeal.
    6         This Court has broad supervisory powers “to remedy a constitutional or
    7   statutory violation; to protect judicial integrity by ensuring that a conviction rests
    8   on appropriate considerations validly before a jury; or to deter future illegal
    9   conduct.” United States v. Barrera–Moreno, 951 F.2d 1089, 1091 (9th Cir. 1991).
   10   Mr. Zepeda has no adequate remedy other than this motion seeking an order that
   11   that civil deportation arrests of Mr. Zepeda or defense witnesses while either are
   12   headed to, at, or departing from the courthouse for official business violates
   13   common law and constitutional rights.
   14         A.     Civil deportation arrests at courthouses violate a longstanding
                     common law privilege protecting people from civil process coming
   15                to, attending, and departing from court for official court business
   16         Deportation arrests at courthouses run afoul of a common law privilege that
   17   prohibits civil arrests at courthouses, or when parties, witnesses, and others attached
   18   to a case are at, en route to, or departing from a courthouse on official business.
   19   See Stewart v. Ramsay, 242 U.S. 128, 129 (1916). The Supreme Court in Stewart
   20   addressed whether a witness and plaintiff may be served with civil process while
   21   attending court for official business. “The true rule, well founded in reason and
   22   sustained by the greater weight of authority, is, that suitors, as well as witnesses,
   23   coming from another State or jurisdiction, are exempt from the service of civil
   24   process while in attendance upon court, and during a reasonable time in coming and
   25   going.” Id. at 129. Four recent decisions from district courts have applied Stewart
   26   and the common law privilege against civil courthouse arrest to prohibit
   27   immigration officials from engaging in exactly the type of arrest Mr. Zepeda seeks
   28   to prevent in this motion. See infra Section III.A.3 (discussing cases).
                                                   29
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    1                1.     Deportation arrests are civil arrests – they are not criminal.
    2          Immigration arrests can be civil or criminal, and the distinction is important
    3   to keep straight. Mr. Zepeda was criminally arrested and charged with an
    4   immigration violation at the start of this case. By contrast, the arrest by immigration
    5   authorities at issue in this motion is an arrest to place Mr. Zepeda in deportation
    6   proceedings, which is a civil, not criminal, proceeding. I.N.S. v. Lopez-Mendoza,
    7   468 U.S. 1032, 1039 (1974) (holding that deportation proceedings are “purely”
    8   civil); Arizona v. United States, 567 U.S. 387, 407 (2012) (holding that “it is not a
    9   crime for a removable alien to remain present” in the United States and that
   10   deportation proceedings are civil even if criminal conduct is the reason for the
   11   deportation); Fong Tue Ting v. United States, 149 U.S. 698, 730 (1893) (holding
   12   that “deportation is not a punishment for a crime); see also HILLEL R. SMITH, CONG.
   13   RESEARCH SERV., LSB10362, IMMIGRATION ARRESTS              IN THE INTERIOR OF THE

   14   UNITED STATES: A BRIEF PRIMER (2019) (explaining restrictions on deportation
   15   arrests).
   16          The case law is clear that deportation proceedings are “purely” civil
   17   proceedings, and immigration authorities must adhere to the rules attendant to civil
   18   process when enforcing a civil deportation order.
   19                2.     There is a common law privilege that bars civil arrests at
                            courthouses.
   20
   21          A deportation arrest of Mr. Zepeda or a witness on their way to court, while
   22   at court, or for a reasonable time in departing from court on official business would
   23   violate the common law privilege that bars the civil arrest at the courthouse. This
   24   privilege is centuries old and is based on the simple premise that the justice system
   25   operates best when parties to a case show up for proceedings, and that parties won’t
   26   go to court if they could be arrested once there. See Stewart v. Ramsay, 242 U.S.
   27   128, 129-30 (1916); NATHAN LEVY., JR., MESNE PROCESS IN PERSONAL ACTIONS AT
   28   COMMON LAW        AND THE   POWER DOCTRINE, 78 YALE L.L. 52, 61-70 (1968)
                                              30
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    1   (summarizing the history of civil arrests).63
    2         The right to be free from civil process at court was clearly recognized by the
    3   Supreme Court over one hundred years ago in Stewart.
    4        The citizen, in every claim of right which he exhibits, and every
             defense which he is obliged to make, should be permitted to approach
    5        them, not only without subjecting himself to evil, but even free from
    6        the fear of molestation or hindrance. He should also be enabled to
             procure, without difficulty, the attendance of all such persons as are
    7        necessary to manifest his rights. Now, this great object in the
    8        administration of justice would in a variety of ways be obstructed, if
             parties and witnesses were liable to be served with process, while
    9        actually attending the court.
   10   Stewart, 242 U.S. 129-30. The Court reaffirmed this privilege several years later in
   11   Page Co. v. MacDonald, 261 U.S. 446, 448 (1923), and this long standing privilege
   12   remains in effect to this day.
   13                3.     Because deportation arrests are civil procedures, the common
                            law doctrine barring civil arrests at courthouses necessarily bars
   14                       deportation arrests at courthouses.
   15         Stewart’s common law rule prohibiting civil arrests does not include an
   16   exception for civil deportation arrests. When the Immigration and Naturalization
   17   Act (“INA”) was enacted in 1952, the common law privilege against courthouse
   18   arrests was squarely in place as recognized by the Supreme Court in Stewart in
   19   1916. Statutes that “invade” the common law must be read as to keep the common
   20   law intact unless the statute has a contrary purpose that is evident. United States v.
   21   Texas, 507 U.S. 529, 535 (1993). The INA does not address courthouse arrests and
   22   it cannot be said that Congress clearly intended to overturn the longstanding
   23   common law privilege against courthouse arrest when it passed the INA.
   24
   25   63
           This law review article is not available on Westlaw, but an open source version
   26   can be found at
        https://digitalcommons.law.yale.edu/cgi/viewcontent.cgi?article=5938&context=y
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    1         The INA must be constrained by the longstanding rule against civil
    2   courthouse arrests because the common law privilege against civil courthouse
    3   arrests was clearly established long before the INA was passed and the INA did not
    4   contain a clear directive from Congress supplanting the common law privilege
    5   against civil arrest in court. Because this common law privilege is contained, rather
    6   than supplanted by the INA, civil deportation arrests that occur when a person is on
    7   their way to, at, or departing from official court business are impermissible because
    8   they run afoul of the long-standing common law privilege against civil arrest while
    9   attending, present at, or departing from official court business.
   10         Every court that has been confronted with this issue has agreed that the
   11   common law privilege bars civil deportation arrests in or around the courthouse.
   12   Indeed, four recent decisions from three district courts have all unwaveringly ruled
   13   that there is a federal and state common law privilege that bars civil deportation
   14   arrests in courthouses and also prohibits authorities from arresting participants in a
   15   case as they head to or depart from a courthouse on official business. See Ryan v.
   16   U.S. Immigration & Customs Enf’t, 382 F.Supp. 3d 142, 146, 160 (D. Mass. 2019)
   17   (ruling that plaintiffs were likely to succeed on the merits of a claim that civil
   18   immigration arrests are illegal and granting an injunction on such arrest, and
   19   holding that “[c]riminal defendants will be unable to vindicate their rights if they
   20   are taken into ICE custody prior to appearing in court or if witnesses in their defense
   21   are too fearful to visit a courthouse.”); New York v. U.S. Immigration & Customs
   22   Enf’t, 431 F. Supp.3d 377, 391 (S.D.N.Y 2019) (ruling that the common law
   23   privilege barring courthouse arrests is intact, prohibits deportation arrests and that
   24   ICE’s courthouse arrest policy “deter[s] immigrants from appearing in court, thus
   25   denying them an opportunity to seek justice in their own cases and impeding civil
   26   suits and criminal prosecutions by dissuading them from serving as witnesses.”);
   27   Washington v. U.S. Dep’t of Homeland Sec., No. C19-2043 TSZ, 2020 WL
   28   1819837, at *26-27 (W.D. Wash. Apr. 10, 2020) (ruling that plaintiffs proved that
                                             32
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    1   the common law privilege barring civil arrests, including deportation arrests, at
    2   courthouses “existed at the time the INA was enacted, that Congress did not
    3   abrogate the privilege or privileges when it passed the INA, and that, in issuing
    4   their ‘courthouse arrest’ policy, [DHS, ICE and CBP] exceeded the authority
    5   delegated to them in the INA.”); and New York v. U.S. Immigration & Customs
    6   Enf’t, No. 19-cv-8876(JSR), 2020 WL 3067715, at *7 (S.D.N.Y. June 10, 2020)
    7   (ruling that “courthouse civil arrests are not lawful, because they contravene the
    8   common-law privilege, which the INA is best read to incorporate, that protects
    9   courts and litigants against these intimidating and disruptive intrusions.”). No
   10   courts have made rulings on this issue contrary to these four decisions.
   11         While ICE has an internal policy to arrest people at courthouses, this policy
   12   runs afoul of Mr. Zepeda’s rights to be free from such arrests. The reasons for the
   13   privilege – courts run better when all the relevant players show up – remain relevant
   14   today, and is critically important to provide litigants access to the court without
   15   being intimidated that their participation in the judicial system will compound their
   16   problems. This Court should grant this motion and rule consistent with the District
   17   of Massachusetts, the Western District of Washington, and the Southern District of
   18   New York to declare that a civil deportation arrest of Mr. Zepeda while Mr. Zepeda
   19   is en route to, at, or departing from the courthouse for official business would
   20   violate Mr. Zepeda’s common law privilege against civil arrest.
   21         B.     The specter and likelihood of Mr. Zepeda being subject to a civil
                     deportation arrest while attending court for his criminal matter
   22                infringes on his Sixth Amendment and Due Process rights to
                     present a defense.
   23
   24         The Sixth Amendment is the bedrock of the criminal justice system and
   25   guarantees a defendant the right to a speedy and public trial. The threat of civil
   26   immigration arrest while Mr. Zepeda is on his way to, present at, or departing from
   27   court on official court business chills the exercise of his right to present a defense
   28   and to call witnesses in his defense.
                                                  33
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    1                 1.     ICE’s courthouse arrest directive creates a chilling effect that
                             harms a defendant’s ability to receive due process.
    2
    3          ICE’s policy of arresting defendants at courthouses in order to begin civil
    4   deportation proceedings deters Mr. Zepeda from exercising his Sixth Amendment
    5   right to access the court to adjudicate his case.
    6          Defendants have a Sixth Amendment fundamental right to access the court.
    7   Government policies, rules, and directives that deter defendants from attending
    8   court to adjudicate their case, and to defend their liberty interests interfere with this
    9   right and are illegal. Bounds v. Smith, 97 S. Ct. 1491, 1494 (1977); United States v.
   10   Jackson, 390 U.S. 570, 583 (1968); Casey v. Lewis, 43 F.3d 1261, 1266 (9th Cir.
   11   1994); and Natale v. United States, 424 F.2d 725, 728 (9th Cir. 1970). See also
   12   Nordstrom v. Ryan, 762 F.3d 903, 906 (9th Cir. 2014) (holding that a jailhouse
   13   policy that deterred a defendant form communicating candidly with his attorney
   14   violated Sixth Amendment rights). ICE’s civil courthouse arrests have such a
   15   chilling effect. New York v. U.S. Immigration & Customs Enf't, 431 F. Supp. 3d
   16   377, 382 (S.D.N.Y. 2019).
   17          Each time Mr. Zepeda appears at court for preliminary hearings, conference,
   18   trial, or other proceeding, an ICE officer may stalk him down corridors, watch him
   19   from the back of the courtroom, and arrest him for a civil deportation proceeding at
   20   their whimsy. The omnipresent risk of civil arrest entering, being present at, and
   21   leaving court infringes on Mr. Zepeda’s right to be present at court to vindicate his
   22   right to present a defense. It forces him to exercise his right to present a defense by
   23   forfeiting his right to be free from civil arrest at court.
   24                 2.     Civil deportation arrests interfere with a defendant’s ability to
                             present evidence from defense witnesses.
   25
   26          ICE’s standing courthouse arrest directive independently intimidates defense
   27   witnesses by telling them that if they show up to court to testify in favor of the
   28   defendant, they may leave in handcuffs and in a fight to remain in the United States
                                                34
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    1   as a result. The directive and the civil deportation arrests at courthouses spawned
    2   by it amount to an intimidation tactics that dissuades defense witnesses from
    3   appearing at court to testify and deprives Mr. Zepeda of the Sixth Amendment
    4   Compulsory Process Clause right to call witnesses in his defense. Washington v.
    5   Texas, 388 U.S. 14, 23 (1967). The case law is clear: the defendant is deprived of
    6   due process under the Sixth Amendment’s Compulsory Process Clause when the
    7   state interferes with a defense witness’s ability to testify. Washington, 388 U.S. at
    8   23. “The Framers of the Constitution did not intend to commit the futile act of
    9   giving to a defendant the right to secure the attendance of a witness whose
   10   testimony he had no right to use.” Id. Mr. Zepeda’s ability to present a vigorous
   11   defense, complete with testimony from exculpatory witnesses, is in jeopardy
   12   because the risk of being arrested at a courthouse for deportation deters defendant-
   13   friendly witnesses from appearing at court to testify.
   14         The Ninth Circuit has interpreted Washington broadly, holding that the
   15   government cannot interfere with the defense witness’s “free and unhampered
   16   choice to testify.” Park v. Thompson, 851 F.3d 910, 919 (9th Cir. 2017). See also
   17   Earp v. Ornoski, 431 F.3d 1158, 1170 (9th Cir. 2005). In order for defendants to
   18   fully realize their Sixth Amendment and Due Process rights to present a defense,
   19   the Court must ensure that the defendant and potential defense witnesses are not
   20   deterred from attending court. Confrontation rights are irreparably harmed if a
   21   defense witness is deterred from being present in court due to the threat of civil
   22   removal arrest. See United States v. Valenzuela-Ruiz, 458 U.S. 858, 867 (1982).
   23   The defendant is prejudiced when the government causes a loss of material and
   24   favorable evidence. Id. at 868. The defendant’s rights are similarly harmed when
   25   the government transfers a witness who can provide testimony favorable to the
   26   defendant beyond the realm of service of the court, which would occur if a witness
   27   was deported. United States v. Martinez-Morales, 632 F.2d 112, 115 (9th Cir.
   28   1980).
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    1         ICE’s courthouse removal arrest directive is a warning shot that tells defense
    2   witnesses who may be subject to removal proceedings that if they show up at court
    3   to testify as a free man or woman, they might leave court in handcuffs.
    4   Consequently, the courthouse arrest policy chills witness participation and infringes
    5   on Mr. Zepeda’s right to present a defense.
    6         In sum, civil removal arrests in the courthouse infringe on the Mr. Zepeda’s
    7   Sixth Amendment and Due Process rights to present a defense and call witnesses
    8   in his defense, because the threat of civil courthouse arrest chills witness
    9   participation and forces defendant’s to choose between exercising their right to
   10   present a defense and exercising their right to be free from civil courthouse arrest.
   11         C.     Civil deportation arrests violate the Fourth Amendment.
   12         The government has not produced a copy of a warrant for Mr. Zepeda’s civil
   13   deportation arrest and it is believed that no such warrant exists. The only authority
   14   to for immigration officers to perform a warrantless deportation arrest is 8 U.S.C.
   15   § 1375(a)(2), which says:
   16
   17         Any officer or employee of [ICE] authorized under regulations
              prescribed by the Attorney General shall have the power without
   18         warrant . . . to arrest any alien who in his presence or view is entering
   19         or attempting to enter the United States in violation of any law or
              regulation made in pursuance of law regulating the admission,
   20         exclusion, expulsion, or removal of aliens, or to arrest any alien in the
   21         United States, if he has reason to believe that the alien so arrested is in
              the United States in violation of any such law or regulation and is
   22         likely to escape before a warrant can be obtained for his arrest.
   23   Id. This statute requires the government to satisfy two conditions before it can make
   24   a lawful deportation arrest. First, the arresting officer must have “reason to believe
   25   that the alien so arrested is in the United States in violation of any such law or
   26   regulation” and, second, there is “reason to believe” the target of the arrest “is likely
   27   to escape before a warrant can be obtained for his arrest.” The Seventh Circuit noted
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    1   that the statutory requirement of probable cause that the alien is likely to escape “is
    2   always seriously applied.” United States v. Cantu, 519 F.2d 494, 497 (7th Cir.
    3   1975). In fact, the Supreme Court invalidated an Arizona statute that permitted
    4   warrantless arrests of removable aliens in part because the state statute did not
    5   require a finding of a likelihood of escape. Arizona v. United States, 567 U.S. 387,
    6   408 (2012) (noting that federal officers may make a warrantless immigration arrest
    7   “only where the alien is likely to escape before a warrant can be obtained”).
    8         Courts have uniformly held that “the ‘reason to believe’ phrase in § 1357
    9   ‘must be read in light of constitutional standards, so that ‘reason to believe’ must
   10   be considered the equivalent of probable cause.’” Morales v. Chadbourne, 793 F.3d
   11   208, 216 (1st Cir. 2015); Tejeda–Mata v. Immigration & Naturalization Serv., 626
   12   F.2d 721, 725 (9th Cir.1980) (“The phrase ‘has reason to believe’ [in § 1357] has
   13   been equated with the constitutional requirement of probable cause.”).
   14         Assuming that ICE is able to establish the first § 1357(a)(2) requirement –
   15   reason to believe the person is present in violation of immigration law - ICE’s
   16   warrantless courthouse arrest policy wholly fails to satisfy the second statutory
   17   factor that the person is likely to flee before a warrant could be obtained. The
   18   current arrest priorities and policies target individuals where there is no indication
   19   that the person is likely to escape, failing the second requirement of § 1375(a)(2)
   20   because there is no reason for an immigration officer to believe that the person he
   21   or she wishes to arrest will escape before a warrant may be obtained. All of the
   22   people that ICE arrests in the courthouse without a warrant are people who have
   23   demonstrated that they are affirmatively not a flight risk by coming to court and
   24   being present as required.
   25         People who are defendants in a criminal charge have repeatedly shown up to
   26   court and provided officials with information about their location and associates in
   27   the United States. Their cases take at least weeks, if not months to adjudicate, and
   28   there is no indication that a person whose daily whereabouts are known is likely to
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    1   escape before a warrant can be obtained. The pendency of the criminal matter is
    2   surely plenty of time for a diligent ICE agent to obtain the proper warrant if he or
    3   she is able to meet the statutory requirement to obtain the warrant.
    4             The government has not produced a civil arrest warrant for Mr. Zepeda and
    5   the Court should rule, consistent with § 1375 that its failure to obtain a civil warrant
    6   prevents ICE from arresting Mr. Zepeda in violation of his Fourth Amendment
    7   rights.
    8                        IV.   MOTION TO STAY PROCEEDINGS

    9             If the Court denies Mr. Zepeda’s motions to prevent his civil removal arrest
   10   in court, the Court should stay Mr. Zepeda’s trial pending an interlocutory appeal
   11   and/or writ of mandamus to the district Court. Mr. Zepeda intends to seek review
   12   before the district court if this Court denies his motion to prohibit civil deportation
   13   arrest in the courthouse and this Court should stay the criminal proceedings for
   14   resolution of this issue if it does not grant the motion to prohibit the civil arrest.
   15             The issuance of a stay pending appeal is appropriate when the party
   16   requesting the stay demonstrates: (1) “serious questions going to the merits were
   17   raised,” (2) “the balance of hardships tips sharply [in favor of the party seeking the
   18   stay],” (3) “there is a likelihood of irreparable injury” in the absence of a stay, and,
   19   (4) the stay is in the public interest. Alliance for the Wild Rockies v. Cottrell, 632
   20   F.3d 1127, 1134-35 (9th Cir. 2011); see also Leiva-Perez v. Holder, 640 F.3d 962,
   21   964 (9th Cir. 2011) (applying the Wild Rockies “serious questions” test to the
   22   petitioner’s request for a stay pending appeal). All of these factors weigh in favor
   23   of a stay because the Mr. Zepeda will suffer irreparable injury if forced to be present
   24   in court and subject to civil immigration arrest.
   25         A.     There are serious questions going to the merits of Mr. Zepeda’s
                     case.
   26
   27             To receive a stay, Mr. Zepeda is not required to show “that it is more likely
   28   than not that [he] will win on the merits.” Leiva-Perez, 640 F.3d at 967. Instead,
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    1   Mr. Zepeda need only show that there are “serious questions going to the merits.”
    2   Id. (quoting Wild Rockies, 632 F.3d at 1135). The Ninth Circuit has explained that
    3   this minimal standard makes sense in the context of a request for a stay because”[a]
    4   more stringent requirement would either . . . put every case in which a stay is
    5   requested on an expedited schedule, with the parties required to brief the merits of
    6   the case in depth for stay purposes, or would have the court attempting to predict
    7   with accuracy the resolution of often-thorny legal issues without adequate briefing
    8   and argument.” Leiva-Perez, 640 F.3d at 967. “Such pre-adjudication adjudication
    9   would defeat the purpose of a stay, which is to give the reviewing court the time to
   10   ‘act responsibly,’ rather than doling out ‘justice on the fly.’” Id. (quoting Nken v.
   11   Holder, 556 U.S. 418, 427 (2009)).
   12         Here, Mr. Zepeda has demonstrated that there are serious questions going to
   13   whether he can lawfully be ordered to come to court while being subjected to civil
   14   immigration arrest on his way to court, while at court, or leaving from court.
   15   Moreover, the four recent district court decisions addressing this issue all agree
   16   with Mr. Zepeda’s position. See supra Section III.A.3 (discussing cases).
   17         B.     The balance of hardships tips sharply in favor of Mr. Zepeda.
   18         The balance of hardships tips sharply in Mr. Zepeda’s favor. Issuing a stay
   19   will not result in any hardship to the government. By contrast, Mr. Zepeda is
   20   currently out of custody on bond and in compliance with his bond conditions.
   21   Forcing the Mr. Zepeda to move forward with trial would likely subject him to
   22   unlawful civil immigration arrest at court regardless of the result of trial.
   23         C.     There is a likelihood of irreparable injury in the absence of a stay.
   24         If the proceedings in magistrate court continue while the legality of civil
   25   courthouse arrest remains in dispute, then Mr. Zepeda will be irreparably harmed
   26   in that he will forced to prepare with trial believing that his civil immigration arrest
   27   is likely to take place at the courthouse. As argued at length above, civil
   28   immigration arrests at the courthouse infringe on Mr. Zepeda’s Sixth Amendment
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    1   and Due Process rights. Generally, the violation of a constitutional right suffices to
    2   demonstrate “irreparable harm.” See Brown v. Cal. Dep’t of Transp., 321 F.3d
    3   1217, 1225 (9th Cir. 2003).
    4         D.     The stay is in the public interest.
    5         There is a compelling and valid public interest that civil immigration arrests
    6   be thoroughly reviewed by the courts before Mr. Zepeda’s case proceeds to trial
    7   because it may impact which members of the public wish to be present for court.
    8   Stripping the proceedings of the threat of civil arrest will encourage public access
    9   to the courts and it is therefore in the public’s best interest for the legality of civil
   10   deportation arrests at the courthouse to be resolved before trial in this case.
   11                                  V.     CONCLUSION
   12         Mr. Zepeda respectfully requests this Court grant his motions.
   13                                           Respectfully submitted,
   14
   15    Dated: July 24, 2020                   s/ Chandra L. Peterson
                                                Federal Defenders of San Diego, Inc.
   16                                           Attorneys for Mr. Zepeda-Rodriguez
                                                Email: Chandra_Peterson@fd.org
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